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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

DANIEL DIAZ-ALACANTARA,                           §
  #37664-509                                      §
                                                  §        CIVIL ACTION NO. 4:24-CV-842
VS.                                               §                (4:21-CR-90(5))
                                                  §
UNITED STATES OF AMERICA                          §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE
       Movant Daniel Diaz-Alacantara filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255, asserting violations concerning his Eastern District of

Texas, Sherman Division conviction.        The motion was referred to me for findings of fact,

conclusions of law, and recommendations for the disposition of the case pursuant to 28

U.S.C. § 636 and the Amended Order for the Adoption of Local Rules for the Assignment of
Duties to the United States Magistrate Judge.

       Movant is challenging his conviction for the offense of Conspiracy to Possess with the

Intent to Manufacture and Distribute Methamphetamine in violation of 21 U.S.C. § 846 and 21

U.S.C. § 841(a)(1)(A) (Count 1) and Conspiracy to Commit Money Laundering in violation of 18

U.S.C. § 1956(h), 18 U.S.C. § 1956(a)(1)(A)(i), 18 U.S.C. § 1956(a)(1)(B)(1), and 18 U.S.C.

§ 1956(a)(2)(A) (Count 4).     On September 28, 2023, after a plea of guilty, he was sentenced

to 285 months’ imprisonment as to Count 1 and 240 months’ imprisonment as to Count 4, to

be served concurrently, for a total of 285 months’ imprisonment. Movant filed a notice of

appeal. The present § 2255 motion was filed on September 20, 2024.                 As of today, the

court has not received a decision from the Fifth Circuit Court of Appeals regarding Movant’s

appeal, and a review of the Fifth Circuit’s website reveals that the appeal is still pending.

       “It is a jurisdictional requirement of § 2255 that the conviction and sentence being
challenged are final.” United States v. Clark, 816 F.3d 350, 362 (5th Cir. 2016) (citing Jones v.
United States, 453 F.2d 351, 352 (5th Cir. 1972) (per curiam)). A criminal defendant may
not bring a collateral attack while an appeal is pending. Fassler v. United States, 858 F.2d 1016,
1019 (5th Cir. 1988) (citing Jones, 453 F.2d at 352). A § 2255 motion should be dismissed without
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prejudice, and a new motion may be filed once the appeal is final. See United States v. Zuniga-

Salinas, 945 F.2d 1302, 1306 n.1 (5th Cir. 1991).

       In the present case, Movant’s appeal remains pending before the Fifth Circuit,

and his conviction and sentence are not final. This motion to vacate, set aside, or correct

sentence should be dismissed without prejudice.



                            CERTIFICATE OF APPEALABILITY

       An appeal may not be taken to the court of appeals from a final order in a proceeding under

§ 2255 “unless a circuit justice or judge issues a certificate of appealability.”         28 U.S.C.

§ 2253(c)(1)(B). Although Movant has not yet filed a notice of appeal, this court, nonetheless,

addresses whether Movant would be entitled to a certificate of appealability. See Alexander v.

Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (explaining that a district court may sua sponte rule

on a certificate of appealability because “the district court that denies a [movant] relief is in the

best position to determine whether the [movant] has made a substantial showing of a denial of a

constitutional right on the issues before the court,” adding that “[f]urther briefing and argument

on the very issues the court has just ruled on would be repetitious”).

       A certificate of appealability may issue only if a movant has made a substantial showing

of the denial of a constitutional right.    28 U.S.C. § 2253(c)(2).      The Supreme Court fully
explained the requirement associated with a “substantial showing of the denial of a constitutional

right” in Slack v. McDaniel, 529 U.S. 473, 484 (2000). In cases where a district court rejected

constitutional claims on the merits, the movant must demonstrate that “reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or wrong.” Id.; Henry v.

Cockrell, 327 F.3d 429, 431 (5th Cir. 2003). When a district court denies a motion on procedural

grounds without reaching the underlying constitutional claim, a [certificate of appealability]

should issue when the movant shows, at least, that jurists of reason would find it debatable whether



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the motion states a valid claim of the denial of a constitutional right and that jurists of reason would

find it debatable whether the district court was correct in its procedural ruling. Id.

        In this case, reasonable jurists could not debate the denial of Movant’s § 2255 motion on

substantive or procedural grounds, nor could they find that the issues presented are adequate to

deserve encouragement to proceed. See Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003)

(citing Slack, 529 U.S. at 484).        Accordingly, Movant is not entitled to a certificate of

appealability.

                                      RECOMMENDATION

        It is recommended that the § 2255 motion be dismissed without prejudice. It is also

recommended that a certificate of appealability be denied.

        Within fourteen days after service of the magistrate judge’s report, any party must serve

and file specific written objections to the findings and recommendations of the magistrate judge.

28 U.S.C. § 636(b)(1)(C). To be specific, an objection must identify the specific finding or

recommendation to which objection is made, state the basis for the objection, and specify the place

in the magistrate judge’s report and recommendation where the disputed determination is found.

An objection that just incorporates by reference or refers to the briefing before the magistrate judge

is not specific.

        Failure to file specific, written objections will bar the party from appealing the unobjected-
to factual findings and legal conclusions of the magistrate judge that are accepted by the district

court, except upon grounds of plain error, provided that the party has been served with notice that

such consequences will result from a failure to object. See Douglass v. United Servs. Auto. Ass’n,

79 F.3d 1415, 1430 (5th Cir. 1996) (en banc), superceded by statute on other grounds, 28 U.S.C.

§ 636(b)(1) (extending the time to file objections from ten to fourteen days).




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SIGNED at Beaumont, Texas, this 7th day of September, 2004.


 So ORDERED and SIGNED this 16th day of October, 2024.



                          ________________________________________
                          Bill Davis
                          United States Magistrate Judge




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